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                                                IN THE UNITED STATES DISTRICT COURT
                                               FOR THE WESTERN DISTRICT OF VIRGINIA
                                                     CHARLOTTESVILLE DIVISION

                      CYNTHIA B. SCOTT, et al.,                 )
                                                                )
                               Plaintiffs,                      )
                                                                )
                      v.                                        )         Case No. 3:12-cv-36
                                                                )
                      A. DAVID ROBINSON, et al.,                )
                                                                )
                                 Defendants.                    )
                                                                )

                                             DEFENDANTS’ OCTOBER 2023 STATUS REPORT

                               Defendants, by counsel, pursuant to the Court’s March 16, 2020, Order, ECF No.

                      655, submit this Status Report in advance of the upcoming Status Conference scheduled

                      for March 6, 2023. Pursuant to the Court’s Order, this Status Report addresses:

                               . . . areas in which the Compliance Monitor has found Defendants (1)
                               currently non-compliant with the Settlement Agreement; (2) persistently
                               only in partial compliance; and (3) areas where Defendants’ compliance has
                               been “downgraded” by the Compliance Monitor. For any such areas, the
                               status reports shall address any discrete, concrete steps Defendants have
                               taken or which can be taken to improve compliance.

                      ECF No. 655.

                               In September, the Compliance Monitor issued his Sixth Monitoring Report after

                      visiting Fluvanna Correctional Center for Women (“FCCW”) in June 2023. After the most

                      recent round of monitoring by the current Compliance Monitor, the status of FCCW’s

                      compliance with the Settlement Agreement can be summarized as follows:
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                                             Standard                     Rating as of Last Audit/Report

                      Provider Staffing (III.2.b.i)                     Compliant (4/23)

                      Intake screening (III.2.b.ii)                     Compliant (8/23)


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                      Comprehensive Health Assessments                   Compliant (8/23)
                      (III.2.b.iii)
                      Sick call/Access (III.2.b.iv)                      Compliant (8/23)
                      Co-Pay (III.2.b.v)                                 Compliant (4/23)

                      Diagnosis and Treatment (III.2.b.vi)               Partially Compliant (4/23)

                      Emergency Response (III.2.b.vii)                   Partially Compliant (4/23)

                      Infirmary Care/Conditions (III.2.b.viii)           Partially Compliant (4/23)

                      Chronic Care (III.2.b.ix)                          Partially Compliant (8/23)

                      Infectious Disease/Waste (III.2.b.x)               Compliant (4/23)

                      Utilization Management (III.2.b.xi)                Compliant (4/23)

                      Medications (III.2.b.xii)                          Compliant (8/23)

                      Medical Equipment (III.2.b.xiii)                   Partially compliant (4/23)
                      Physical Therapy (III.2.b.xiv)                     Compliant (8/23)
                      Medical Grievances (III.2.b.xv)                    Compliant (4/23)
                      Patient Access to Care Information                 Compliant (8/23)
                      (III.2.b.xvi)

                      Accommodation for Special Needs                    Partially compliant (8/23)
                      (III.2.b.xvii)

                      Training (III.2.b.xviii)                           Compliant (4/23)

                      Care/Release Terminally Ill (III.2.b.xix)          Partially compliant (4/23)

                      Mortality Reviews (III.2.b.xx)                     Partially Compliant (8/23)

                      PM/CQI (III.2.b.xxi)                               Partially compliant (4/23)

                      VDOC Performance Evaluation (III.2.b.xxii)         Compliant (4/23)

                      Operational Protocols/Policies                     Compliant (4/23)
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                      See ECF No. 904-1, *30.




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                      I. Update Regarding EHR

                               A vendor has been selected and a contract signed. While the vendor has not yet

                      provided a “go live” date for the EHR, FCCW will be the first facility to have an active EHR.

                      Thus far, the vendor has conducted two eight-hour sessions with VDOC staff to prepare

                      for implementation of the EHR. In addition, the vendor visited FCCW on September 28 to

                      develop plans for building out the EHR with registries and workflows adapted to FCCW’s

                      clinical practice.

                      II. Response to Compliance Monitor’s Ratings of Partial Compliance

                               After the most recent round of monitoring, the Compliance Monitor upgraded the

                      areas of Sick Call/Access, Medications, and Accommodations. The areas of Chronic Care

                      and Mortality Reviews were downgraded from compliant to partially compliant.

                               Notably, Defendants and the Compliance Monitor have started holding monthly

                      calls to discuss progress and outstanding issues in order to focus attention on remaining

                      areas that need to be addressed to achieve full compliance.

                          a. Accommodations

                               The Compliance Monitor upgraded this area from noncompliant to partially

                      compliant. The Compliance Monitor noted his belief that more women at FCCW likely

                      meet the criteria for MOUD. FCCW has started screening its population for OUD identify

                      candidates for MAT using criteria from the American Society of Addiction Medicine

                      (“ASAM”) and the fifth edition of the Diagnostic and Statical Manual of Mental Disorders
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                      (“DSM V”).
  Roanoke, Virginia




                               As to treatment options for MOUD, VDOC currently endorses all recommended

                      agents consistent with ASAM guidelines. Treatment options for MOUD have been

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                      developed based on guidance from the Justice Department, the ASAM, the National

                      Institute on Drug Abuse, the Substance Abuse and Mental Health Services Administration,

                      and the DSM-V.

                               Patients currently on treatment for MOUD continue without interruption upon

                      reception to FCCW, upon verification and condition and treatment plan, unless there is a

                      clinical indication to stop therapy or the patient requests discontinuation of agonist

                      treatment. For continuation of medication for MOUD, FCCW uses buprenorphine as the

                      primary medication for agonist pharmacologic treatment with extended-release

                      injectable buprenorphine being the preferred formulation for continuation of agonist

                      treatment for MOUD. Prescribers still retain the discretion to exercise clinical judgment

                      and to prescribe as clinically indicated and consistent with national guidelines for MAT.

                               For induction of medication for MOUD, naltrexone continues to be the preferred

                      formulation for treatment. Again, however, prescribers retain discretion to exercise

                      clinical judgment and to prescribe as clinically indicated and consistent with national

                      guidelines for MAT.

                               The Compliance Monitor reported that several women apparently reported that

                      their MOUD medication had been “switched” without engaging them about their wishes.

                      Defendants refuted these claims, and during the parties’ meet and confer on September

                      29, Plaintiffs’ counsel confirmed that none of the women had their medication switched,

                      much less without consultation.
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                               The Compliance Monitor also referenced the lack of an addiction medicine

                      specialist for consultation regarding MOUD and MAT.1 During the parties’ meet and

                      confer, the Compliance Monitor clarified that this reference did not require Defendants to

                      hire an addiction medicine specialist. Rather, the Compliance Monitor endorsed the idea

                      of Defendants engaging with outside specialists at other medical systems (UVA, VCU, etc.)

                      who can be available to providers at FCCW to provide consultation and perhaps even

                      telehealth services to the patients. Defendants have formed an agreement with a

                      psychiatrist in private practice who is board certified in addiction medicine to provide

                      offsite and onsite consultations for patients on or eligible for MOUD.

                               Finally, as the Compliance Monitor noted, two additional treatment officers (total

                      of 4) have been approved and added to FCCW's post audit. FCCW is in the process of

                      filling these positions.

                          b. Chronic Care

                               The Compliance Monitor downgraded Chronic Care from compliant to partially

                      compliant. Still, the Compliance Monitor noted “[s]everal areas of chronic care show

                      continued improvement . . . .” The compliance Monitor surmised the drop to partially

                      compliant was likely due to the “great amount of time [it] takes to review individual

                      encounters in paper records.” As noted above, the EMR vendor is fully engaged in


                      1 The individual with whom the monitor spoke about MOUD for his report neglected to

                      mention VDOC’s ongoing partnership with Spectrum Health Systems. VDOC has for the
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                      past five years contracted with Spectrum Health Services, which is a not-for-profit
                      organization, providing a comprehensive continuum of addiction treatment and
                      behavioral health services and has successfully provided both substance use disorder
                      counseling and medication for opiate use disorder treatments to the state of
                      Massachusetts. VDOC recently extended and expanded their contract with Spectrum
                      Health Services.

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                      developing tuning its EHR platform to fit the practice needs of FCCW. In addition, all

                      nurses and providers have received additional counseling on the requirements for

                      chronic care visit documentation, specifically reporting, documenting, and managing

                      abnormal blood pressures.

                          c. Mortality Reviews

                               The Compliance Monitor downgraded this area due to the lack of assessment of

                      palliative care in two mortality reviews. FCCW will include a self-critical assessment of

                      palliative care, if necessary and where appropriate, in future mortality reviews.

                      III. Meet and Confer

                               The parties and the Compliance Monitor held a meet and confer to discuss the

                      Compliance Monitor’s recent report regarding MOUD, the status of EHR implementation,

                      the status of hiring a Director of Nursing, and FCCW’s pain management program.

                      Defendants advised that Director of Nursing had been hired on 9/11/23. The Compliance

                      Monitor provided helpful insight regarding MOUD, particularly, as noted above, his

                      thoughts regarding an addiction medicine consultant and tracking of patients who qualify

                      for and either accept or decline MAT for opioid use disorder.

                                                              CONCLUSION

                               As noted, Defendants continue to work collaboratively with the Compliance

                      Monitor as he continues his assessment of FCCW’s compliance with the Settlement

                      Agreement, and Defendants appreciate the opportunity to communicate with the monitor
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                      on a more regular basis so that discrete issues can be identified and resolved quickly, and
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                      the monitor can lend feedback regarding process improvements.

                                                                 Respectfully submitted,

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                                                       CHADWICK DOTSON, A. DAVID ROBINSON,
                                                       STEPHEN HERRICK, GARRY JONES, and
                                                       SHARON SHEFFIELD, M.D.

                                                       /s/
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                                                        CERTIFICATE OF SERVICE

                               I hereby certify that on October 18, 2023, I electronically filed the foregoing with

                      the Clerk of the Court using the CM/ECF system which will automatically send notification

                      of such filing to all counsel of record.


                                                                          /s/_________________
                                                                                 Of Counsel




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